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 1                      IN THE UNITED itaTESOPISXRICT COURT
                                                 lvtij
 2                      FOR THE MIDDLE DISTRICT OF ALABAMA
 3                                NA81-44 flatsibrif
                                   DEBRA P. HACKETT. CLir,"
 4                                   U.S. DIS RI   Q'
     Latoya Powell,                 MIDDLE CIS     z ''(1•10           '1111
                                                           OC • I 0-01-49 /1
 5
6                     Plaintiff,
 7                                                  COMPLAINT
           vs.
8
     AmSher Collection Services, Inc.,
9
     an Alabama corporation,                        JURY TRIAL DEMAND
10
11                    Defendant.

12
13
14         NOW COMES THE PLAINTIFF,LATOYA POWELL,BY AND THROUGH
15
     COUNSEL,Reginald McDaniel, and for her Complaint against the Defendant, pleads
16
17 as follows:
18                                     JURISDICTION
19
        1. This court has jurisdiction under the Fair Debt Collection Practices Act
20
21        ("FDCPN'), 15 U.S.C. §1692k(d)and 28 U.S.C. §§1331,1337.
22
23                                          VENUE
24
        2. The transactions and occurrences which give rise to this action occurred in the
25
26         City of Montgomery, Montgomery County, Alabama.

27      3. Venue is proper in the Middle District of Alabama, Northern Division.
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 1                                       PARTIES
2
      4. Plaintiff is a natural person residing in City of Montgomery, Montgomery
3
         County, Alabama.
4
5     5. The Defendant to this lawsuit is AmSher Collection Services, Inc., which is an
6
         Alabama corporation that conducts business in the State of Alabama.
7
8                            GENERAL ALLEGATIONS

9     6. Defendant is attempting to collect a consumer type debt with account number
10
         9759715 allegedly owed by Plaintiffto American Family Care, Inc. in the
11
12       amount of$127.00("the Alleged Debr).
13    7. Plaintiff does not owe the Alleged Debt. Plaintiff does not owe any money to
14
         American Family Care,Inc and there is no outstanding balance.
15
16    8. On April 11, 2018, Plaintiff obtained her Equifax and Trans Union credit
17
         reports. Plaintiff noticed that Defendant reported its trade line associated with
18
19       the Alleged Debt with a balance of$127.00.

20    9. On or about May 4, 2018,Plaintiff submitted a letter to Defendant disputing the
21
         Alleged Debt.
22
23    10.0n or about May 9, 2018,Plaintiff received a letter from Defendant validating
24       the Alleged Debt.
25
      11.However,the attached Account Statement showed that Plaintiff and her
26
27       insurance owed a balance of$0.
28
                                              2
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 1    12.Defendant has misrepresented the Alleged Debt, in violation ofthe FDCPA.
2
      13.Plaintiff suffered pecuniary and emotional damages as a result of Defendant's
3
4        actions. Her credit report continues to be damaged due to the Defendant's
5        failure or refusal to report the open collection item as closed and with a $0
6
         balance.
7
8                                    VIOLATION OF
9
                 THE FAIR DEBT COLLECTION PRACTICES ACT
10
11    14.Plaintiff reincorporates the preceding allegations by reference.

12    15.At all relevant times, Defendant, in the ordinary course of its business, regularly
13
         engaged in the practice of collecting debts on behalf of other individuals or
14
15       entities.
16    16.Plaintiffis a "consumee for purposes ofthe FDCPA,and the account at issue in
17
         this case is a consumer debt.
18
19    17.Defendant is a "debt collector" under the Fair Debt Collection Practices Act
20
        ("FDCPA"), 15 U.S.C. §1692a(6).
21
      18.Defendant's foregoing acts in attempting to collect this alleged debt violated the
22
23      following provisions ofthe FDCPA:
24
            a. 15 U.S.C. §1692e(2)(A) by misrepresenting the character, amount, or
25
26             legal status of any debt. Defendant mispresented the alleged Debt by

27             attempting to collect a debt that has been paid; and
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                                              3
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 1            b. 15 U.S.C. §1692f(1)by collecting any amount not permitted by law.
 2
                 Defendant is attempting to collect a debt that has been paid.
 3
 4      19.To date, and a direct and proximate cause ofthe Defendant's failure to honor its
 5         statutory obligations under the FDCPA,the Plaintiff has continued to suffer
 6
           from a degraded credit report and credit score. Defendant has willfully
 7
 8         continued to report a negative trade line on her credit report, costing the
 9
           Plaintiffeconomic opportunities.
10
11     20.Plaintiff has suffered economic, emotional, general, and statutory damages as a

12         result ofthese violations ofthe FDCPA.
13
14
15         WHEREFORE,PLAINTIFF PRAYS that this court grant her a judgment
16 against Defendant for actual damages, costs, interest, and attorneys' fees.
17
                         DEMAND FOR JUDGMENT RELIEF
18
19
        Accordingly, Plaintiff requests that the Court grant her the following relief against
20
21 the Defendant:
22     a. Actual damages;
23
       b. Statutory damages;
24
25     c. Statutory costs and attorneys' fees; and

26     d. Exemplary and Punitive Damages for Defendant's willful violation ofthe Fair
27
           Debt Collection Practices Act.
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                                                4
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 1                                  JURY DEMAND
2
        Plaintiff hereby demands a trial by Jury.
3
4 DATED: July 17, 2018
5
6                                           By:                      Es
                                            Reginald McDaniel ASO-      k.-U13 wt,
7                                           3720 Llth Avenue North
8                                           Birmingham, AL 35222
                                            Attorneys for Plaintiff,
9                                           Latoya Powell
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